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               IN THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                              Case No.   CR417-208-19


TATONYA HAILES,
                      Defendants.




     Dwight L. Thomas, counsel of record for defendant Tatonya

Hailes in the above-styled case has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall
proceed, status conferences, pretrial conferences, and trial shall
not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


      SO ORDERED this            /3*^ay of October 2017


                                       WILLIAM T. MOORE, JR.'
     U.S. DISTRICT COURT
                                       UNITED STATES DISTRICT COURT
      Southern Oistrict of Ga.         SOUTHERN DISTRICT OF GEORGIA
           Fiiad in Office
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            Deputy Clerk
